                                   . ' MS
                    Case 2:17-cv-00199-BMS Document 1 Filed 01/12/17 Page 1 of 16

                                                            .~                    SCANNED
                          IN TH1',uNITED-STATESDIStf1cT COURT FOR THE
                               EASTERN DISTRICT OF PENNSYLVANIA


        MICHAEL J. KELLY, for himself and                           CIVIL ACTION NO.
        on behalf of the United States of America

                                      Relator
                                                                                      17          019&
                              v.                                    JURY TRIAL DEMANDED

        QMES, LLC d/b/a TRICOUNTY MEDICAL
        EQUIPMENT & SUPPLY, LLC,                                   W!LJ:U_ UNDERSEAIJ
                                      Defendant


                                           QUI TAM COMPLAINT

                                       PRELIMINARY STATEMENT


               This qui tam action is brought by the Relator, Michael J. Kelly, for himself and on behalf

        of the United States, against QMES, LLC d/b/a Tricounty Medical Equipment & Supply, LLC

        for submitting many thousands of fraudulent Medicaid claims for medical devices that were

        never provided.   The Relator seeks to recover damages, fines, and other relief arising from
\
    \   violations by Defendant of the False Claims Act, as amended, 31 U.S.C. § 3729, et seq.

                                                   PARTIES

               1.      The Relator, Michael J. Kelly ("Kelly"), is an adult individual who resides at 445

        Maple Pt. Drive Langhorne, Pennsylvania 19047.

               2.     The Defendant, QMES, LLC d/b/a Tricounty Medical Equipment & Supply, LLC

        ("the Defendant") is a for-profit corporation maintaining a place of business located at 122 Mill

        Road, Phoenixville, Pennsylvania 19460.
                Case 2:17-cv-00199-BMS Document 1 Filed 01/12/17 Page 2 of 16



           3.     At all times material hereto, the Defendant acted by and through its authorized

agents, servants, workmen and/or employees, all of whom were acting within the scope of their

employment or agency in the course of the business, mission or affairs of the Defendant.

                                      JURISDICTION AND VENUE

           4.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

1345, as well as 31 U.S.C. §§ 3729, 3730(b) and 3732(a).

        5.        Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 (b) and (c),

and 31 U.S.C. § 3732(a), in that the Defendant is found and resides in this district, and a

substantial part of the events and occurrences giving rise to this action occurred in this district.

       6.         Prior to filing this Complaint, the Relator served a copy of same, together with a

written disclosure statement required by 31 U.S.C. § 3730(b)(2), upon the United States.

       7.         The Relator is the original source of all information on which any factual

allegation herein might be deemed based.

                                               FACTS

                                 Federal and State Laws Generally

       8.         Medical Assistance ("Medicaid") is a federal health insurance program for, inter

alia, qualifying low income families and individuals, that is jointly funded by federal and state

contributions ("Medicaid Funds"). Medicare is the federal health insurance program for people

who are 65 or older, certain younger people with disabilities, and people with End-Stage Renal

Disease.

       9.         The Centers for Medicare & Medicaid Services ("CMS"), a branch of the

Department of Health and Human Services ("HHS"), is the federal agency that runs the Medicare

Program and monitors Medicaid programs offered by each state. Pennsylvania participates in
               Case 2:17-cv-00199-BMS Document 1 Filed 01/12/17 Page 3 of 16


Medicaid, and as part of the Federal government's requirements for participating states,

Pennsylvania has adopted a state plan ("State Plan") that outlines the scope of how its Medicaid

program will be run, and ensures that its Medicaid program complies with Chapter 7, Title XIX

of the Social Security Act (42 U.S.C. §§ 1396, et seq.) and applicable Federal regulations (42

C.F.R., Ch. 4).

         10.      Pursuant to the State Plan, Pennsylvania's Medicaid program is administered by

the Pennsylvania Department of Public Welfare ("DPW") in accordance with Article IV of the

Public Welfare Code (62 PA. STAT.§§ 401, et seq.) and the Medica.l Assistance Manual (55 Pa.

Code, Pt. III).

         11.      All relevant Federal and Pennsylvania statutes and regulations are collectively

referred to herein as "the Regulations."

         12.      Pursuant to the Regulations, only qualified, approved "providers" of medical care,

treatment and/or services are eligible to seek payment and/or reimbursement from Medicaid

Funds.

         13.      The Regulations require that providers be truthful in submitting claims for

reimbursement from Medicaid and Medicare Funds as a precondition for participation.

         14.      As described more fully below, the Defendant has at all relevant times been a

"provider" within the meaning of the Regulations, and the Regulations are applicable to the

Defendant.

                                 Prohibition on Making False Statements

         15.      In an effort to combat Medicaid and Medicare fraud and abuse, the Regulations

have, at all relevant times, imposed obligations on providers, including a requirement that when

a provider submits a claim for payment and/or reimbursement from Medicaid or Medicare Funds
              Case 2:17-cv-00199-BMS Document 1 Filed 01/12/17 Page 4 of 16



in connection with the furnishing of medical care, treatment and/or services for a recipient, the

provider must certify as a condition and prerequisite to receiving payment and/or reimbursement

that the information supplied in the claim is true and accurate. See e.g., 42 U.S.C. § 1320a-

7b(a)(l); 42 C.F.R. §§ 455.18, 455.19 and 495.368.

        16.     In addition, the Regulations have at all relevant times required that providers who

discover any material omission or errors in claims submitted to Medicare, Medicaid or other

Federal health care program must disclose those omissions or errors to the Government.          See

e.g., 42 U.S.C. § 1320a-7b(a)(3).

                                    The Nature of Defendant's Business

        17.     QMES, LLC ("QMES") is a privately held durable medical equipment and supply

company. It provides a variety of services to both the general public and healthcare institutions

throughout the mid-Atlantic states, including but not limited to: Pennsylvania, New Jersey, New

York, Maryland and Delaware. It concentrates its business on home care equipment for those

suffering from breathing conditions, including, but not limited to, COPD and Sleep Apnea.

        18.     Tricounty Medical Equipment & Supply, LLC is a wholly owned subsidiary of

QMES.

                                    The Relator's Employment History

        19.     The Relator has been employed by the Defendant from in or about May 2011

through the present.

       20.      By way of background, prior to commencing his employment with the Defendant,

the Relator possessed over thirty (30) years broad-based experience in directing and overseeing

governmental and commercial payor relations, including reimbursement, claims submission,

coding of claims and contract management.
              Case 2:17-cv-00199-BMS Document 1 Filed 01/12/17 Page 5 of 16



        21.      During the course of his employment, the Relator has held the position of Director

of Business Development. At all times, he maintained a satisfactory job performance rating in

that capacity and did not receive any negative feedback regarding same.

        22.     Over the course of his employment with the Defendant, the Relator developed and

managed crucial business relations which led to profitable and long term relationships.

        23.     In connection with the performance of his job duties, the Relator was responsible

for all payor-related oversight (governmental as well as commercial payors) as it related to

claims submission, claims payments, as well as other contract related activities, including audits

undertaken by all payment sources.

                                   The Defendant Makes False Claims

        24.     On or about June 24, 2016, the Relator learned that Defendant had engaged in a

pattern of up-coding for COPD and Sleep Apnea patients for a time period in excess of three (3)

years. Specifically, the Defendant had billed Medicare for ventilators when it was in fact

providing BiP AP devices to the patients.

       25.      On said date, Mark Sargent ("Sargent"), Manager of High Tech Services,

contacted the Relator and advised him that he had discovered the aforesaid up-coding practice.

Further, Sargent informed the Relator that Tara Woodruff Dukes ("Dukes"), Director of Clinical

Services, and Wendy Russalesi ("Russalesi"), Compliance Officer, directed him to keep this

information "internal".

       26.      In an effort to ascertain more information, the Relator approached Russalesi later

on the same date. Russalesi advised the Relator that, despite the Defendant's knowledge of this

issue, the up-coding had not been reported to Medicare. In response, the Relator stated his belief
              Case 2:17-cv-00199-BMS Document 1 Filed 01/12/17 Page 6 of 16



that the Defendant should self-report the false claims to all payors affected, including the

Medicare and Medicaid plans.

        27.      On or about June 27, 2016, the Relator met with Dukes and Sargent. During said

meeting, Dukes informed the Relator that Sargent and Dean Gvodas ("Gvodas"), Director of

Operations, had directed her to continue improperly billing for those patients who had already

been authorized to receive treatment from a particular device using the incorrect codes. Dukes

also told the Relator that Gvodas, Luke McGee ("McGee"), QMES Chief Executive Officer,

John Gvodas, Jr. ("Gvodas, Jr."), Chief Executive Officer of South Division, and Joshua Parnes

("Parnes"), Chief Executive Officer of New Jersey and New York Divisions, had instructed her

not to notify the payors. In response, the Relator reiterated his belief that the Defendant should

self-report the false claims to all payors affected, including the Medicare and Medicaid plans.

        28.     As a result of the up-coding from BiP AP (E0601) to Ventilators (E0466

(noninvasive) and E0465 (invasive)), the Defendant billed Medicare an extra $3,500 per month

per case. The Relator estimates that the Defendant fraudulently billed for over 57 cases per

month for a period of at least 3 years. As a result of the up-coding from BiP AP (E0601) to

Ventilators (E0466 (noninvasive) and E0465 (invasive)), the Defendant billed managed

Medicare and Medicaid cases an extra $4,500 per month per case. The Relator estimates that the

Defendant fraudulently billed for over 42 cases per month for a period of at least 3 years.

       29.      Furthermore, upon information and belief, the Defendant falsified patient medical

records to justify the fraudulent up-coding.

       30.      On or about June 28, 2016, the Relator recommended to Russalesi that the

Defendant disclose the up-coding to the payors. In response, Russalesi stated that she was

directed by McGee, Gvodas Jr. and Parnes not to disclose the issue.
              Case 2:17-cv-00199-BMS Document 1 Filed 01/12/17 Page 7 of 16



        31.      On or about June 20, 2016, the Relator learned that the Defendant had

inadvertently produced patient charts to a managed medicare plan, Keystone First, which

contained evidence of the Defendant's illegal up-coding. Russalesi asked the Relator to contact

Keystone First and fraudulently inform them that the charts were sent in error and that they

should discard the same. Despite Russalesi's instructions, the Relator did not obey her directive

and subsequently restated his belief that the Defendant should selfreport.

        32.      Between on or about July 8, 2016 and on or about September 8, 2016, the Relator

repeatedly informed Russalesi and Sargent of his belief that the Defendant should selfreport. At

all times, Russalesi and Sargent directed the Relator to "let it go" and maintained that the

Defendant had decided not to correct the up-coding.

        33.     On or about September 15, 2016, Gvodas Jr. terminated the Relator's employment

with Defendant, effective December 31, 2016, in retaliation for his repeated demands that the

Defendant report its false claims to the government.

                                              COUNT I
                     Violations of the FCA Based upon Improper Billing Practices

        34.     Relator incorporates by reference each of the paragraphs of this Complaint as

though fully set forth at length herein.

        35.     Defendant violated the False Claims Act, as amended, 31 U.S.C. § 3729, et seq.,

("FCA"), by engaging and participating in, approving and/or authorizing Improper Billing

Practices.

        36.     Defendant engaged and participated in, approved and/or authorized the Improper

Billing Practices, notwithstanding its said certifications relating to its obligation to comply with

the relevant Medicaid Regulations.
              Case 2:17-cv-00199-BMS Document 1 Filed 01/12/17 Page 8 of 16



        37.      In engaging and participating in, approving and/or authorizing the Improper

Billing Practices, Defendant knowingly presented and/or caused to be presented claims for

payment or approval that were false and/or fraudulent, resulting in Defendant receiving

payments and/or reimbursements from Medicaid Funds to which Defendant was not entitled.

        38.      In engaging and participating in, approving and/or authorizing the Improper

Billing Practices, Defendant made, used and/or caused to be made or used, false records and/or

statements that were material to claims for payment or approval that were false and/or

fraudulent, resulting in Defendant receiving payments and/or reimbursements from Medicaid

Funds to which Defendant was not entitled.

        39.     Defendant engaged and participated in, approved and/or authorized the Improper

Billing Practices with actual knowledge that the information Defendant presented and submitted

to obtain the said payments and/or reimbursements from Medicaid Funds were false and/or

fraudulent.

        40.     In the alternative, Defendant engaged and participated in, approved and/or

authorized the Improper Billing Practices with deliberate ignorance of the truth or falsity of the

false and/or fraudulent information Defendant presented and submitted to obtain the said

payments and/or reimbursements from Medicaid Funds.

       41.      In the alternative, Defendant engaged and participated in, approved and/or

authorized the Improper Billing Practices in reckless disregard of the truth or falsity the false

and/or fraudulent information Defendant presented and submitted to obtain the said payments

and/or reimbursements from Medicaid Funds.
              Case 2:17-cv-00199-BMS Document 1 Filed 01/12/17 Page 9 of 16


        42.     On information and belief, Defendant has failed to report or return the improper

payments and/or reimbursements Defendant has received from Medicaid Funds pursuant to the

Improper Billing Practices.

        43.     The U.S. Government and the public fisc have been harmed as a result of

Defendant's Improper Billing Practices.



                                    COUNT II
                      FCA RETALIATION CLAIM - 31 U.S.C. §3730(h)


        44.     The Relator incorporates by reference all of the averments above, as if set forth

fully and at length herein.

        45.     At all relevant times, the Relator engaged in Protected Conduct under the FCA

(the "Protected Conduct").

       46.      The Protected Conduct consisted of lawful acts done in furtherance of a potential

or actual qui tam action, efforts to stop violations of the FCA, and repeated demands that the

Defendant self report the up-coding.

       47.      At all relevant times, the Defendant was aware and had knowledge of the

Protected Conduct.

       48.      At all relevant times, the Defendant was on notice as a result of the Protected

Conduct that the Relator was contemplating filing a qui tam action against the Defendant and/or

that there was a distinct possibility of litigation against the Defendant under the FCA.

       49.      The Defendant discriminated and retaliated against the Relator because of the

Protected Conduct by terminating the Relator's employment.
              Case 2:17-cv-00199-BMS Document 1 Filed 01/12/17 Page 10 of 16



        50.      The Defendant's termination of the Relator's employment was motivated by The

Relator's engaging in the Protected Conduct.

        51.      As a result of the Defendant's discrimination and retaliation against the Re la tor in

violation of the FCA, the Relator has been and will be caused to suffer a loss of employment, a

loss and/or diminution of earnings and earning capacity, a loss of employee benefits, pain and

suffering, emotional distress, mental anguish, embarrassment, humiliation, inconvenience, and

harm to reputation; and in addition, the Relator is entitled to an award of two times the amount of

his back pay.

        52.      As a further result of the Defendant's discrimination and retaliation against the

Relator in violation of the FCA, the Relator has suffered and will suffer irreparable harm, as a

result of which he is entitled to recover equitable and/or injunctive relief to the extent such relief

feasible and appropriate.




                                      PRAYER FOR RELIEF

       WHEREFORE, Relator prays that this Honorable Court grant the following relief:



                 (a)    Declaring the acts and practices of Defendant, complained of herein, to be

in violation of the False Claims Act;


                (b)     Entering a judgment against Defendant in an amount equal to three times

the amount of damages the U.S. Government has sustained as a result of Defendant's violations

of the False Claims Act;
           Case 2:17-cv-00199-BMS Document 1 Filed 01/12/17 Page 11 of 16


                  (c)   Entering a judgment against Defendant for civil penalty in the amount of

at least $11,000 for each of Defendants' violations of the False Claims Act;


                 (d)    In the event that the U.S. Government elects to intervene in this qui tam

action, awarding Relator an amount equal to not less than 15% and not more than 25% of the

proceeds recovered from Defendants in this action;


                 (e)    In the event that the U.S. Government elects not to intervene in this qui

tam action, awarding Relator an amount equal to not less than 25% and not more than 30% of the

proceeds recovered from Defendants in the action;


                 (f)    Awarding Relator all reasonable expenses incurred in connection with the

prosecution of the action;


                 (g)    Awarding Relator all reasonable attorney's fees and costs incurred m

connection with the prosecution of the action;


                 (h)    Awarding Relator prejudgment interest; and


                 (i)    Granting any and all additional relief that is just and appropriate.


                 (j)    Awarding the Relator two times the amount of his lost earnings and/or

back pay, together with interest on the award;

                 (k)    Awarding the Relator the full value of all employee benefits lost;

                 (I)    Awarding the Relator front or prospective pay as an alternative to

reinstatement;
          Case 2:17-cv-00199-BMS Document 1 Filed 01/12/17 Page 12 of 16


               (m)    Awarding the Relator special and/or compensatory damages for pain and

suffering, emotional distress, mental anguish, embarrassment, humiliation, inconvenience, and

harm to reputation;

               (n)    Awarding the Relator litigation costs and attorney's fees; and

              (o)     Awarding prejudgment and postjudgment interest to the Relator.




                                                    Respectfully submitted,


                                                    SIDNEY L. GOLD & AS SOCIA TE



                                                    SIDNEY L. GOLD, ESQUI E
                                                    l.D. NO.: 21374
                                                    1835 Market Street, Ste. 515
                                                    Philadelphia, PA 19103
                                                    (215) 569-1999
                                                    sgold@discrimlaw.net
                                                    Attorneys for Relator



DATED: January 12, 2017
            Case 2:17-cv-00199-BMS Document 1 Filed 01/12/17 Page 13 of 16

I

                                            VERIFICATION

            I hereby verify that the statements contained in the attached Complaint are true and

    correct to the best of my knowledge, information and belief. I understand that false statements

    herein are made subject to the penalties of Title 18 Pa. C.S.A. §4904, relating to unsworn

    falsification to authorities.




    DATE:
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 I. (a)        PLAINTIFFS                                                                                        DEFENDANTS
              MICHAEL J. KELLY, for himself a                                                                   QMii;, LLC d/b/a TRICOUNT
              United States of America                                                                        ~,.suitlLY, LLC

      (b) County of Residence of First Listed Plain ti                                                           County of Residence of First Listed Defendant
                                    (f,XCFPT JN U.S. PJ,AIN' 7FF CAS/iS)                                                                        (IN ll.S. Pf,AfN'l'll·F CAS/iS ONf,Y)
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                                                                                                                                            THE TRACT OF LAND JN VOL YEO.



     ( C) Attorneys (Firm       Name, Address, and Telephone Num er                                              Attorneys (!/Known)
              SIDNEY L. GOLD, ESQUIRE/ SIDNEY L. GOLD & ASSOC., P.C.
              1835 MARKET ST., STE 515, PHILA., PA l9I03
              TELEPHONE (2 I 5) 569-I 999 sgold@discrimlaw.net
                                                                                                                                                 CIP AL PARTIES (Place an "X" m One Rox fo                          fl//
                                                                                                                                                                                                           n)
            U.S. Government                        eral Question                                                                                 DEF                                                       DE
               Plaintiff                          (U.S. Government Not a Party)                       Citizen ofThis State                       0 I       Incorporated or Principal Place                      4
                                                                                                                                                           of Business In This State

 0 2        U.S. Government                    Diversity                                              Citizen of Another State                    0    2   Incorporated and Principal Place        0   5
               Defendant                         (lnd1cate C'lt1zensh1p of Parties m /rem Ill)                                                                of Business Jn Another State

                                                                                                      Citizen or Subject of a          0    3     0   3    Foreign Nation                          0   6   0 6
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 IV.. NATURE OF SUIT (Place an "X" m One Box Only)
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0    I 30  Miller Act              0 315 Airplane Product                   Product Liability 0           690 Other                               28 use 157                    0   410 Antitrust
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0    150   Recovery of Overpayment 0 320 Assault, Libel &                  Phannaceut1cal                                                     PROPERTY RIGHT                    0   450 Commerce
          & Enforcement of Judgment          Slander                       Personal Injury                                                  0 820 Copyrights                    0   460 Deportation
 0   151 Medicare Act              0 330 Federal Employers'                Product Liability                                                0 830 Patent                        0   4 70Racketeer Influenced and
 0   I 52 Recovery of Defaulted              Liability             0 368 Asbestos Personal                                                  0 840 Trademark                             Corrupt Organizations
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          of Veteran's Benefits    0 350 Motor Vehicle             0 370 Other Fraud                            Act                         0   862 Black Lung (923)                     Exchange
 0   160 Stockholders' Suits       0 355 Motor Vehicle             0 371 Trnth in Lending     0           720 Labor/Mgmt. Relations         0   863 DJWC/DJWW (405(g))          0   890 Other Statutory Actions
 0   I 90 Other Contract                    Product Liability      0 380 Other Personal       0           740 Railway Labor Act             0   864 SSID Title XVI              0   891 Agricultural Acts
 0                                 0 360 Other Personal
     I 95 Contract Product Liability                                       Property Damage    0           75 I Family and Medical           0   865 RSI (405(g))                0   893 Environmental Matters
 0   I 96 Franchise                         Injury                 0 385 Property Damage                        Leave Act                                                       0   895 Freedom of lnfonnation
                                   0 362 Personal Injury -                 Product Liability  0           790 Other Labor Litigation                                                     Act
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 0 220 Foreclosure                 0 41 Voting                             Sentence                                                               or Defendant)                         Agen~y Decision
 0 230 Rent Lease & Ejectment             2 Employment                Habeas Corpus:                                                        0 871 IRS-Third Party           0       950 Constitutionality of
 0 240 Torts to Land                     43 Housing/               0 530 General                                                                  26 use 7609                           State Statutes
 0 245 Tort Product Liability               Accommodations         0 535 Death Penalty
 0 290 All Other Real Property           45 Amer. w/Disabilities - 0 540 Mandamus & Other 0               462 Naturalization Application
                                            Employment             0 550 Civil Rights         0           463 Habeas Corpus -
                                       446 Amer. w/Disabilities - 0 555 Prison Condition                      Alien Detainee
                                            Other                  0 560 Civil Detainee -                     (Prisoner Petition)
                                   0 448 Education                        Conditions of       0           465 Other Immigration
                                                                          Confinement                         Actions

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       CAUSE OF               ACTION,.~JMSAC:f,,.JLU.S.C_SECT-IObl.3.12.9-eHe;
VI.                             ~·- Brief description of cause:
                                           Employment Discrimination
VII. REQUESTED IN                              CHECK IF THIS IS A CLASS ACTION                            DEMAND$ 150,000 in excess                   CHECK YES only if de                 d d in complaint:
        COMPLAINT:                             UNDER F.R.C.P. 23                                                                                      JURY DEMAND:                                0 No

VIII. RELATED CASE(S)
                                              (See 10struct10n.1):
            IF ANY
                                                                        JUDGE                                                                                                           N 12 2017
DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD
January I2, 20 l 7                                                           ls/Sidney L. Gold, Esquire
FOR OFFICE USE ONLY

    RECEIPT#                       AMOUNT                                        APPL YING JFP                                 JUDGE                               MAG. JUDGE
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                                                                                                    DISTR!fT COURT
                                Case 2:17-cv-00199-BMS Document 1 Filed 01/12/17 Page 15 of 16
                                                                                                    RM to be us.ed by counsel to indicate the category of the case for the purpose of
 assignment to appropriate calendar.                         f,                             .                l'';
                                                                                                             ,I,


                             445 Maple Pt Drive, Langhorn~\i1 PA 12.047 .- ....   ·-~~ ..........
 Address of Plaintiff:

 Address of Defendant: 122 Mill Road, Phoenixville, PA 19460
                                                                                                               ;
                                                                                                                                                                  0199
 Place of Accident, Incident or Transaction 122 Mill Road, Phoenixville, PA 19460
                                                ·       ·     .       (Use Reverse Side For Additional Space)

 Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation ownin                             eof its stock?
  (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7. l(a))                                             YesD


 Does this case involve multidistrict litigation possibilities?                                                                            Yeso
 RELATED CASE. IF ANY:
Case Number: _ _ _ _ _ _ _ _ _ _ _ J u d g e - - - - - - - - - - - - - - Date Terminated:------=:;___-----------

Civil cases are deemed related when yes is answered to any of the following questions:

 I. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                              Yeso NoX
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?
                                                                                                                             YesD      NoX
3. Does this case involve the validity or infringement ofa patent already in suit or any earlier numbered case pending or within one year previously
      terminated action in this court?                                                                                                     YesD        NoX

4. Is this case a second or successive habeas corpus, social security appeal, or prose civil rights case filed by the same individual?
                                                                                                                                          YesD         No X

CIVIL: (Place!/ in ONE CATEGORY ONLY)
A Federal Question Cases:                                                                                           B. Diversity Jurisdiction Cases:
 I.    o Indemnity Contract, Marine Contract, and All Other Contracts                                               I. o Insurance Contract and Other Contracts
 2.    D FELA                                                                                                       2. D Airplane Personal Injury
 3. o Jones Act-Personal Injury                                                                                     3. D Assault, Defamation
 4. o Antitrust                                                                                                     4. D Marine Personal Injury
 5. o Patent                                                                                                        5. D Motor Vehicle Personal Injury
 6. o Labor-Management Relations                                                                                    6. D Other Personal Injury (Please specify)
 7.     Civil Rights                                                                                                7. D Products Liability
 8.    o Habeas Corpus                                                                                              8. D Products Liability -          Asbestos
       D    Securities Act(s) Cases                                                                                 9. D All other Diversity Cases
              ocial Security Review Cases                                                                                  (Please specify)
              II other Federal Question Cases
              lease specify)   FALSE CLAIMS ACT, QUI TAM ACTION

                                                                       ARBITRATION CERTIFICATION
             ey L. Gold, Esquire                                                                                    (Check Appropriate Category)
'11-.,........r------------------' counsel of record do hereby certify:
           ursuant to Local Civil Rule 53.2, Section 3(c)(2), t at to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of



                                                                  ls/Sidney L. Gold, Esquire                                             21374
                                                                            I


                                                                                                                                    Attorney l.D.#
                                          NOTE: A trial de novo w· I be a trial by jury only if there has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, thew·
except as noted above.
                                                             Isl Sidney L. Gold, Esquire                                                21374
DATE:          January 12, 2017                                                                                                                                JAN 12 2017
                                                              Attorney-at-Law                                                                 Attorney l.D.#
CIV. 609 (5/2012)
                          ~,    .·~
                   Case 2:17-cv-00199-BMS Document 1 Filed 01/12/17 Page 16 of 16           v~~
                          ~:C: ' IN THE U         "I:ES DISTRICT COURT
                          l:f'ORTHE EA       , ,,· RICT. OF PENNSYLVANIA
                                          '                  1
                         CASE   M~NAGEMEN'F,,'FR*cK·&sIGNATION FORM
   Michael J. Kelly, for himself and on behalf of the                           CIVIL ACTION
   United States of America,
                                        Realtor
                         v.
                                                                                                 0199
   QMES, LLC d/b/a TRICOUNTY MEDICAL
   EQUIPMENT & SUPPLY, LLC , Defendant

   In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
   plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
   filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
   side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
   designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
   the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
   to which that defendant believes the case should be assigned.

   SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

   (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                            ( )

   (b) Social Security - Cases requesting review of a decision of the Secretary of Health
       and Human Services denying plaintiff Social Security Benefits.                                 ( )

   (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.     ( )

   (d) Asbestos - Cases involving claims for personal injury or property damage from
       exposure to asbestos.

   (e) Special Management - Cases th at do not fall into tracks (a) through (d) that are
       commonly referred to as comp 1ex and that need sp cial or intense management by
       the court. (See reverse side of this form for a deta' led explanation of special
                                                                                                    o-( )




       management cases.)

   (f) Standard Management - Cases th           ot fall i to any one of the other tracks.               ()

        January 12, 2017                                          ls/Sidney L. Gold, Esquire

  Date                                 Attorney-at-law                     Attorney for Plaintiff ·

215.569.1999
                                      215.569.3870                             sgold@discrimlaw.net

Telephone                               FAX Number                         E-Mail Address


(Civ. 660) 10/02




                                                                                        JAN 12 201t
